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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :      CASE NO.:
                                             :
              v.                             :      MAGISTRATE NO.: 24-MJ-157
                                             :
LARRY LUCAS,                                 :      VIOLATIONS:
                                             :
                                             :      40 U.S.C. § 5104(e)(2)(D)
                                             :      (Disorderly Conduct on Capitol Grounds)
              Defendant.                     :
                                             :      40 U.S.C. § 5104(e)(2)(G)
                                             :      (Parading, Demonstrating, or Picketing in
                                             :      any of the Capitol Buildings)
                                             :


                                    INFORMATION

       The United States Attorney charges that at all relevant times:

                                         COUNT ONE

       On or about January 6, 2021, within the District of Columbia, LARRY LUCAS, willfully

and knowingly engaged in disorderly and disruptive conduct in any of the Capitol Buildings with

the intent to impede, disrupt, and disturb the orderly conduct of a session of Congress or either

House of Congress.

       (Disorderly Conduct on Capitol Grounds, in violation of Title 40, United States Code,
       Section 5104(e)(2)(D))

                                        COUNT TWO

       On or about January 6, 2021, within the District of Columbia, LARRY LUCAS, willfully

and knowingly paraded, demonstrated, and picketed in a Capitol Building.

       (Parading, Demonstrating, or Picketing in any of the Capitol Buildings, in violation of
       Title 40, United States Code, Section 5104(e)(2)(G))
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                                   Respectfully submitted,

                                   MATTHEW M. GRAVES
                                   United States Attorney
                                   D.C. Bar No. 481052


                             By:   /s/ Shalin Nohria
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